UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                        )
IN RE:                                                  )   Chapter 11
                                                        )
THE DIOCESE OF ROCHESTER,                               )   Case No. 19-20905 (CGM)
                                                        )
                             Debtor.                    )
                                                        )


                                   NOTICE OF FILING

         PLEASE TAKE NOTICE that, in accordance with the Administrative Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 318], Pachulski Stang Ziehl & Jones LLP has

filed the Fifth Monthly Fee Statement of Pachulski Stang Ziehl & Jones, LLP for Compensation

for Services Rendered and Reimbursement of Expenses as Counsel to the Official Committee of

Unsecured Creditors for The Diocese Of Rochester for The Period March 1, 2020 Through

March 31, 2020, a copy of which is attached hereto and hereby served upon you.


Date: June 5, 2020                         PACHULSKI STANG ZIEHL & JONES LLP


                                           /s/Ilan D. Scharf
                                           James I. Stang (pro hac vice)
                                           Ilan D. Scharf
                                           780 Third Avenue, 34th Floor
                                           New York, NY 10017
                                           Telephone: (212) 561-7700
                                           Facsimile: (212) 561-7777
                                           Email: jstang@pszjlaw.com
                                                      ischarf@pszjlaw.com

                                           Counsel to the Official Committee of Unsecured
                                           Creditors




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WESTERN DISTRICT OF NEW YORK

                                                          )
IN RE:                                                    )   Chapter 11
                                                          )
THE DIOCESE OF ROCHESTER,                                 )   Case No. 19-20905 (PRW)
                                                          )
                              Debtor.                     )
                                                          )

  FIFTH MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES
 LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
    OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS FOR THE DIOCESE OF ROCHESTER FOR THE PERIOD
                MARCH 1, 2020 THROUGH MARCH 31, 2020

Name of Applicant:                           Pachulski Stang Ziehl & Jones LLP

Authorized to Provide Professional
Services to:                                 The Official Committee of Unsecured Creditors for
                                             the Diocese of Rochester

Date of Retention:                           Order Entered November 1, 2019 [Docket No. 160]
                                             Employment Effective as of September 24, 2019
Period for which compensation and
Reimbursement is sought:                     March 1, 2020 through March 31, 2020

Amount of compensation sought
as well as actual, reasonable and
necessary:                                   80% of $58,445.00 ($46.756.00)

Amount of expense reimbursement sought
as actual, reasonable and necessary:   $5,707.02

This is a X monthly ____ quarterly ____ final application
This is the first monthly fee statement by Pachulski Stang Ziehl & Jones LLP in this case.




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                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  March 31, 2020
JIS                                                               Invoice 124954
                                                                  Client   18489
                                                                  Matter   00002
                                                                           JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2020
               FEES                                                $58,445.00
               EXPENSES                                             $5,707.02
               TOTAL CURRENT CHARGES                               $64,152.02

               BALANCE FORWARD                                    $260,112.73
               TOTAL BALANCE DUE                                  $324,264.75




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  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours              Amount

 CHM        Mackle, Cia H.              Counsel           675.00      15.30           $10,327.50

 GNB        Brown, Gillian N.           Counsel           700.00       1.20             $840.00

 IAWN       Nasatir, Iain A. W.         Partner           700.00       2.40            $1,680.00

 IDS        Scharf, Ilan D.             Partner           700.00      34.50           $24,150.00

 JIS        Stang, James I.             Partner           700.00      11.20            $7,840.00

 LAF        Forrester, Leslie A.        Other             450.00       1.30             $585.00

 LSC        Canty, La Asia S.           Paralegal         425.00       0.50             $212.50

 VAN        Newmark, Victoria A.        Counsel           700.00       9.00            $6,300.00

 WLR        Ramseyer, William L.        Counsel           700.00       9.30            $6,510.00

                                                                     84.70            $58,445.00




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  Summary of Services by Task Code
  Task Code         Description                                 Hours                      Amount

 AA                 Asset Analysis/Recovery[B120]               13.60                     $9,520.00

 BL                 Bankruptcy Litigation [L430]                 9.00                     $6,300.00

 CA                 Case Administration [B110]                   5.30                     $3,710.00

 CO                 Claims Admin/Objections[B310]                0.50                      $350.00

 CP                 Compensation Prof. [B160]                   15.70                    $10,727.50

 DO                 Document Production                         15.30                    $10,327.50

 GC                 General Creditors Comm. [B150]              15.00                    $10,500.00

 HE                 Hearing                                      1.60                     $1,120.00

 IC                 Insurance Coverage                           3.60                     $2,320.00

 PD                 Plan & Disclosure Stmt. [B320]               0.70                      $490.00

 RP                 Retention of Prof. [B160]                    1.60                     $1,120.00

 SL                 Stay Litigation [B140]                       2.80                     $1,960.00

                                                                84.70                    $58,445.00




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  Summary of Expenses
  Description                                                                             Amount
Air Fare [E110]                                                                  $789.60
Auto Travel Expense [E109]                                                       $134.72
Bloomberg                                                                        $278.19
Conference Call [E105]                                                           $615.18
CourtLink                                                                         $16.85
Federal Express [E108]                                                            $18.21
Hotel Expense [E110]                                                             $669.02
Pacer - Court Research                                                                $5.80
Postage [E108]                                                                        $8.40
Reproduction/ Scan Copy                                                           $58.80
Research [E106]                                                                  $500.00
Transcript [E116]                                                              $2,612.25

                                                                               $5,707.02




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                                                                                     Hours           Rate     Amount

  Asset Analysis/Recovery[B120]
 03/03/2020   IDS     AA        Telephone call with W.Gordon regarding deposition     0.30       700.00       $210.00
                                issue (B.Clark).

 03/03/2020   IDS     AA        Follow up with W.Gordon recap of deposition of        0.50       700.00       $350.00
                                B.Clark.

 03/03/2020   IDS     AA        Revise document production tracing chart.             0.30       700.00       $210.00

 03/04/2020   IDS     AA        Telephone call with W.Gordon regarding deposition     0.30       700.00       $210.00
                                of B. Clark.

 03/04/2020   IDS     AA        Follow up with Debtor (telephone call to G.Walter)    0.30       700.00       $210.00
                                regarding document production.

 03/09/2020   IDS     AA        Spot check documents received last week from          0.40       700.00       $280.00
                                debtor.

 03/09/2020   IDS     AA        Email to SCC regarding access to documents.           0.40       700.00       $280.00

 03/09/2020   IDS     AA        Telephone conference with C. Mackle regarding         0.30       700.00       $210.00
                                document production by debtor

 03/09/2020   IDS     AA        Review signed joinder agreements to NDA by SCC.       0.30       700.00       $210.00

 03/09/2020   IDS     AA        Email to Debtor's counsel transmitting joinders to    0.20       700.00       $140.00
                                NDA by SCC.

 03/09/2020   IDS     AA        Telephone conference with T. Newmark regarding        0.40       700.00       $280.00
                                research assignment for property and governance
                                issues.

 03/09/2020   IDS     AA        Email memo to T. Newmark regarding research           0.40       700.00       $280.00
                                assignment for property and governance issues.

 03/09/2020   IDS     AA        Follow up email with S. Boyd regarding NDA and        0.20       700.00       $140.00
                                document access.

 03/10/2020   IDS     AA        Telephone conference with Jim Stang regarding         0.20       700.00       $140.00
                                discovery.

 03/10/2020   IDS     AA        Attend call with SCC regarding documents review.      0.70       700.00       $490.00

 03/10/2020   IDS     AA        Telephone conference with C. Mackle regarding         0.20       700.00       $140.00
                                document production.

 03/10/2020   IDS     AA        General review of document production and chart re    1.00       700.00       $700.00
                                same.

 03/11/2020   IDS     AA        Follow up email to debtor's counsel regarding         0.10       700.00        $70.00
                                redactions.




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                                                                                       Hours           Rate      Amount

 03/16/2020   IDS     AA        Emails to committee regarding Bishop Clark              0.80       700.00        $560.00
                                deposition.

 03/16/2020   IDS     AA        Review transcript of Bishop Clark deposition.           1.40       700.00        $980.00

 03/18/2020   IDS     AA        Email to T. Newmark regarding legal research for        0.60       700.00        $420.00
                                property and governance issues.

 03/19/2020   IDS     AA        Email to C. Mackle regarding document production.       0.20       700.00        $140.00

 03/19/2020   IDS     AA        Brief review of recent downloads and documents          0.20       700.00        $140.00
                                from Debtor.

 03/23/2020   IDS     AA        Call with Debtor's counsel regarding various issues,    0.80       700.00        $560.00
                                including document production.

 03/23/2020   IDS     AA        Email from S. Donato regarding document                 0.10       700.00         $70.00
                                production.

 03/23/2020   IDS     AA        Email to James Stang regarding document                 0.10       700.00         $70.00
                                production.

 03/23/2020   IDS     AA        Email to S. Donato regarding document production.       0.10       700.00         $70.00

 03/30/2020   IDS     AA        Email to C. Mackle regarding document production.       0.10       700.00         $70.00

 03/31/2020   IDS     AA        Initial review of financial procedures per document     2.70       700.00       $1,890.00
                                production.

                                                                                       13.60                    $9,520.00

  Bankruptcy Litigation [L430]
 03/09/2020   VAN     BL        Analysis regarding veil piercing research.              0.30       700.00        $210.00

 03/21/2020   VAN     BL        Research regarding veil-piercing and substantive        1.90       700.00       $1,330.00
                                consolidation theories.

 03/22/2020   VAN     BL        Research regarding veil-piercing and substantive        1.80       700.00       $1,260.00
                                consolidation theories.

 03/22/2020   VAN     BL        Research regarding veil-piercing and substantive        1.30       700.00        $910.00
                                consolidation theories.

 03/23/2020   VAN     BL        Draft memorandum regarding veil-piercing and            2.70       700.00       $1,890.00
                                substantive consolidation theories.

 03/24/2020   VAN     BL        Draft/revise memorandum regarding veil-piercing         1.00       700.00        $700.00
                                and substantive consolidation.

                                                                                        9.00                    $6,300.00




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                                                                                       Hours           Rate      Amount

  Case Administration [B110]
 03/03/2020   IDS     CA        Email to debtor regarding various matters (discovery    0.30       700.00        $210.00
                                notice)

 03/05/2020   IDS     CA        Telephone call with C. Sullivan regarding multiple      0.30       700.00        $210.00
                                issues.

 03/10/2020   IDS     CA        Telephone conference with L. Testa regarding NY         0.40       700.00        $280.00
                                AG appearance.

 03/10/2020   IDS     CA        Telephone conference with E. Stern and D. Harz          0.40       700.00        $280.00
                                (NY AG Charities Bureau) regarding appearance
                                and case.

 03/13/2020   IDS     CA        Prepare for call with Debtor's counsel re fee           0.40       700.00        $280.00
                                examiners and other matters.

 03/13/2020   IDS     CA        Call with Debtor's counsel re fee examiners and         0.40       700.00        $280.00
                                other matters.

 03/16/2020   JIS     CA        Telephone call with Debtor's counsel regarding          1.00       700.00        $700.00
                                parish stay, document production.

 03/23/2020   JIS     CA        Conference call with Debtor regarding document          0.80       700.00        $560.00
                                production, notice of bar date.

 03/30/2020   IDS     CA        Call with Debtor's counsel regarding document           1.00       700.00        $700.00
                                production, Cabrini, Parish stipulation; fee
                                examiner.

 03/30/2020   IDS     CA        Prepare for call with Debtor's counsel.                 0.30       700.00        $210.00

                                                                                        5.30                    $3,710.00

  Claims Admin/Objections[B310]
 03/15/2020   JIS     CO        Review email regarding different parish notices of      0.30       700.00        $210.00
                                bar date on website (.1) and email to Debtor's
                                counsel re same and requesting modification (.1).

 03/19/2020   IDS     CO        Email to Debtor regarding potential claim by former     0.20       700.00        $140.00
                                employee.

                                                                                        0.50                     $350.00

  Compensation Prof. [B160]
 03/11/2020   IDS     CP        Telephone conference with Brad Sandler regarding        0.20       700.00        $140.00
                                fee examiner.

 03/11/2020   LSC     CP        Retrieve and transmit documents in connection with      0.50       425.00        $212.50




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                                                                                        Hours           Rate       Amount
                                professional fees.
 03/13/2020   LAF     CP        Research re: Fee examiners.                              0.50       450.00         $225.00

 03/18/2020   IDS     CP        Email to UST regarding fee examiner.                     0.20       700.00         $140.00

 03/24/2020   IDS     CP        Revise PSZJ December invoice for fee application.        0.80       700.00         $560.00

 03/26/2020   JIS     CP        Review and edit February 2020 bill for fee               0.20       700.00         $140.00
                                application

 03/26/2020   IDS     CP        Revise PSZJ February invoice for fee application.        0.90       700.00         $630.00

 03/26/2020   IDS     CP        Telephone conference with Jim Stang regarding fee        0.20       700.00         $140.00
                                application.

 03/26/2020   IDS     CP        Update January PSZJ invoice for review by                0.40       700.00         $280.00
                                Committee Chair and for fee application.

 03/27/2020   IDS     CP        Revise PSZJ February invoice for fee statement.          0.80       700.00         $560.00

 03/30/2020   WLR     CP        Correspondence to Ilan Scharf re first interim fee       0.20       700.00         $140.00
                                application (Diocese of Rochester)

 03/30/2020   WLR     CP        Review correspondence from Ilan Scharf regarding         0.20       700.00         $140.00
                                staffing, procedures and open issues regarding first
                                interim fee application

 03/30/2020   WLR     CP        Draft first interim fee application                      3.70       700.00        $2,590.00

 03/30/2020   IDS     CP        Email to Debtor's counsel regarding fee applications.    0.20       700.00         $140.00

 03/30/2020   IDS     CP        Finalize invoices for fee application (.4); email to     0.60       700.00         $420.00
                                W. Ramseyer regarding fee applications (.2)

 03/30/2020   IDS     CP        Draft PSZJ January fee statement for fee application.    0.50       700.00         $350.00

 03/30/2020   IDS     CP        Draft February PSZJ Fee statement for fee                0.40       700.00         $280.00
                                application.

 03/31/2020   WLR     CP        Draft first interim fee application                      1.00       700.00         $700.00

 03/31/2020   WLR     CP        Research local rules regarding fee applications          0.50       700.00         $350.00

 03/31/2020   WLR     CP        Draft first interim fee application                      1.50       700.00        $1,050.00

 03/31/2020   WLR     CP        Review and revise first interim fee application          2.20       700.00        $1,540.00

                                                                                        15.70                    $10,727.50

  Document Production
 03/03/2020   CHM     DO        Review documents produced and draft document             2.90       675.00        $1,957.50
                                production tracking spreadsheet; email same to I.




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                                Scharf.
 03/04/2020   CHM     DO        Review email re scope of production, review             0.30       675.00         $202.50
                                database and email I. Scharf re same.

 03/04/2020   CHM     DO        Coordinate with Everlaw to upload first set of CVA      0.30       675.00         $202.50
                                documents to Everlaw and correspond with Everlaw
                                re load file issues.

 03/05/2020   CHM     DO        Email C. Tsan re CVA documents and review CVA           0.80       675.00         $540.00
                                documents in Everlaw.

 03/09/2020   CHM     DO        Telephone conferences with CD (committee                0.80       675.00         $540.00
                                member) re Everlaw access and review.

 03/09/2020   CHM     DO        Coordinate with Everlaw to upload additional            1.60       675.00        $1,080.00
                                documents to Everlaw platform and configure
                                database for counsel and committee review.

 03/10/2020   CHM     DO        Prepare for and conduct Everlaw training sessions       2.80       675.00        $1,890.00
                                for committee members and counsel and follow up
                                with individuals as needed re same.

 03/11/2020   CHM     DO        Update document production tracking spreadsheet         0.30       675.00         $202.50
                                and email same to I. Scharf.

 03/11/2020   CHM     DO        Prepare for (.1); and conduct Everlaw training          0.90       675.00         $607.50
                                session with committee members (.8).

 03/13/2020   CHM     DO        Add documents to Everlaw and review and                 1.60       675.00        $1,080.00
                                segregate insurance documents for I. Nasatir review.

 03/18/2020   CHM     DO        Review email from SB (committee member) re              0.10       675.00          $67.50
                                Everlaw training and reply.

 03/19/2020   CHM     DO        Upload documents to Everlaw and email I. Scharf re      0.40       675.00         $270.00
                                same.

 03/19/2020   CHM     DO        Everlaw training with committee member and              0.90       675.00         $607.50
                                emails with I. Scharf and W. Gordon re same.

 03/20/2020   CHM     DO        Review and code newly added documents and email         0.50       675.00         $337.50
                                committee and counsel re same.

 03/27/2020   CHM     DO        Review email from I. Scharf re upcoming                 0.10       675.00          $67.50
                                production and reply.

 03/30/2020   CHM     DO        Review email from CD (committee member), run            0.80       675.00         $540.00
                                searches in Everlaw, review documents and reply.

 03/31/2020   CHM     DO        Download redacted documents and coordinate              0.20       675.00         $135.00
                                replacement with Everlaw; email C. Tsan re same.

                                                                                       15.30                    $10,327.50



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  General Creditors Comm. [B150]
 03/02/2020   IDS     GC        Email to SCC regarding weekly call.                     0.20       700.00       $140.00

 03/04/2020   IDS     GC        Prepare for committee meeting.                          0.30       700.00       $210.00

 03/04/2020   IDS     GC        Attend call with committee re discovery and B.          0.50       700.00       $350.00
                                Clark deposition.

 03/10/2020   JIS     GC        Committee call regarding discovery and document         1.00       700.00       $700.00
                                production, bar date, channeling injunction and
                                extension of parish stipulation.

 03/10/2020   IDS     GC        Email to SCC with agenda for counsel call.              0.20       700.00       $140.00

 03/10/2020   IDS     GC        Attend call with SCC regarding various matters          1.00       700.00       $700.00
                                including discovery, parish stay.

 03/11/2020   IDS     GC        Committee call regarding various issues, including      0.80       700.00       $560.00
                                discovery, asset analysis and pending motions.

 03/11/2020   IDS     GC        Emails to Committee regarding agenda for weekly         0.20       700.00       $140.00
                                call.

 03/16/2020   JIS     GC        Telephone call with Ilan Scharf regarding State         0.20       700.00       $140.00
                                Court Counsel call for Rochester.

 03/16/2020   JIS     GC        Rochester State Court Counsel call regarding            1.00       700.00       $700.00
                                document production, parish stay, fee examiner.

 03/16/2020   IDS     GC        Attend counsel call regarding parish stipulation, fee   1.00       700.00       $700.00
                                examiner, discovery.

 03/16/2020   IDS     GC        Email to SCC regarding status, weekly agenda.           0.40       700.00       $280.00

 03/16/2020   IDS     GC        Draft agenda regarding SCC call.                        0.20       700.00       $140.00

 03/17/2020   IDS     GC        Call to JIS regarding inquiry to claim hot line.        0.20       700.00       $140.00

 03/18/2020   JIS     GC        Telephone call with Jason Amala regarding letter        0.40       700.00       $280.00
                                from BSA to survivors and effect on DOR chapter
                                11 case.

 03/18/2020   JIS     GC        Committee call regarding document production, bar       1.00       700.00       $700.00
                                date, NYSAG and parish stay.

 03/18/2020   IDS     GC        Attend committee call regarding bar date document       1.00       700.00       $700.00
                                production, AG, Notice process.

 03/18/2020   IDS     GC        Email agenda and update memo to Committee               0.80       700.00       $560.00
                                regarding case status.

 03/19/2020   IDS     GC        Telephone conference with caller to claim form          0.30       700.00       $210.00
                                hotline.




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                                                                                     Hours           Rate       Amount

 03/23/2020   IDS     GC        Email to SCC regarding weekly call agenda             0.40       700.00         $280.00

 03/23/2020   IDS     GC        Attend weekly call with SCC regarding case issues     1.00       700.00         $700.00
                                including bar date notice, document production,
                                parish stipulation.

 03/25/2020   JIS     GC        Committee call regarding document production,         0.80       700.00         $560.00
                                notice and bar date.

 03/26/2020   IDS     GC        Email to Committee member (CD) regarding              0.20       700.00         $140.00
                                Everlaw and document access.

 03/30/2020   JIS     GC        Telephone call with M. Garabedian and W. Gordon       0.50       700.00         $350.00
                                regarding parish stay and mediation

 03/30/2020   JIS     GC        State Court Counsel call regarding parish stay and    0.50       700.00         $350.00
                                document production (left early).

 03/30/2020   IDS     GC        Call with SCC regarding exclusivity and parish        0.80       700.00         $560.00
                                stipulation.

 03/30/2020   IDS     GC        Email to SCC regarding counsel call agenda.           0.10       700.00          $70.00

                                                                                     15.00                    $10,500.00

  Hearing
 03/19/2020   JIS     HE        Attend hearing regarding parish stay.                 0.60       700.00         $420.00

 03/19/2020   IDS     HE        Prepare for hearing.                                  0.40       700.00         $280.00

 03/19/2020   IDS     HE        Attend telephonic hearing re parish stay motion.      0.60       700.00         $420.00

                                                                                      1.60                     $1,120.00

  Insurance Coverage
 03/13/2020   LAF     IC        Locate NY action by Continental against Buffalo       0.80       450.00         $360.00
                                Diocese

 03/17/2020   IAWN IC           Review Clark deposition transcript re abuse           1.50       700.00        $1,050.00
                                knowledge timing

 03/19/2020   IDS     IC        Emails regarding document production by debtor to     0.20       700.00         $140.00
                                carriers.

 03/20/2020   IAWN IC           Review VFR re insurance documentation                 0.40       700.00         $280.00

 03/25/2020   IAWN IC           Exchange emails with Ilan Scharf re Clark             0.10       700.00          $70.00
                                deposition

 03/31/2020   IAWN IC           Review recent caselaw on Channelling in NY/2d         0.40       700.00         $280.00




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                                                                                        Hours           Rate       Amount
                                Cir. and forward to Ilan Scharf and James I Stang
 03/31/2020   IDS     IC        Emails with SCC regarding coverage chart.                0.20       700.00         $140.00

                                                                                         3.60                    $2,320.00

  Plan & Disclosure Stmt. [B320]
 03/10/2020   JIS     PD        Email to G. Zive regarding mediation procedures.         0.10       700.00          $70.00

 03/11/2020   IDS     PD        Respond to Judge Zive regarding mediation.               0.20       700.00         $140.00

 03/31/2020   IDS     PD        Telephone conference with M. Tuegel regarding            0.40       700.00         $280.00
                                mediation process for non-committee member
                                claims.

                                                                                         0.70                      $490.00

  Retention of Prof. [B160]
 03/23/2020   GNB     RP        Draft supplemental declaration of J. Stang in support    1.20       700.00         $840.00
                                of PSZJ employment.

 03/23/2020   JIS     RP        Email to Gillian Brown regarding supplementary           0.30       700.00         $210.00
                                declaration regarding BSA and revise declaration.

 03/23/2020   JIS     RP        Review and revise declaration regarding BSA              0.10       700.00          $70.00
                                employment.

                                                                                         1.60                    $1,120.00

  Stay Litigation [B140]
 03/16/2020   IDS     SL        Reviews CNA objection to parish stipulation.             0.40       700.00         $280.00

 03/23/2020   JIS     SL        Telephone call with Ilan Scharf regarding impact of      0.30       700.00         $210.00
                                no filing rule on parish stay.

 03/23/2020   JIS     SL        State Court Counsel conference call regarding            0.80       700.00         $560.00
                                extension of parish stay.

 03/23/2020   JIS     SL        Draft email to S. Donato regarding parish stay           0.40       700.00         $280.00
                                stipulation extension.

 03/25/2020   JIS     SL        Telephone call with S. Donato regarding extension        0.40       700.00         $280.00
                                of parish stay.

 03/30/2020   JIS     SL        Conference call with Debtor's counsel regarding          0.50       700.00         $350.00
                                parish stay issues

                                                                                         2.80                    $1,960.00

  TOTAL SERVICES FOR THIS MATTER:                                                                              $58,445.00



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 Expenses
 01/14/2020   AT        Auto Travel Expense [E109] Uber Transportation Services,         4.18
                        to Court, IDS
 01/14/2020   AT        Auto Travel Expense [E109] Uber Transportation Services,        20.41
                        to airport, IDS
 01/14/2020   HT        Hotel Expense [E110] The Strathallan Rochester,                215.00
                        01/13/20-01/14/20, 1 night, IDS
 01/15/2020   AF        Air Fare [E110] Delta Airlines, Tkt. 0062419753229, from       254.80
                        LGA to ROC, ROC to LGA, IDS
 02/05/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS             23.46
 02/05/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS             40.15
 02/10/2020   AT        Auto Travel Expense [E109] Uber Transportation Services,        22.66
                        to hotel, IDS
 02/11/2020   AT        Auto Travel Expense [E109] Uber Transportation Services,        15.85
                        to court, IDS
 02/11/2020   AT        Auto Travel Expense [E109] Uber Transportation Services,        53.63
                        from airport to office, IDS
 02/11/2020   HT        Hotel Expense [E110] Hilton, 02/10/20-02/11/20, 1 night,       225.00
                        IDS
 02/12/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS              0.08
 02/12/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS             90.10
 02/24/2020   AF        Air Fare [E110] Delta Airlines, Tkt., 00624206964371, From     534.80
                        LGA to RST to LGA, IDS
 02/24/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS             26.98
 02/24/2020   HT        Hotel Expense [E110] The Strathalan Rochester hotel, 1         229.02
                        night, IDS
 02/25/2020   AT        Auto Travel Expense [E109] Uber Transportation Service, to      17.99
                        hotel, IDS
 03/03/2020   TR        Transcript [E116] TSG Reporting, Inv.706966, LSC             2,612.25
 03/10/2020   CC        Conference Call [E105] AT&T Conference Call, CHM                 3.83
 03/10/2020   CC        Conference Call [E105] AT&T Conference Call, CHM                10.90
 03/11/2020   CC        Conference Call [E105] AT&T Conference Call, CHM                 4.06
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                       2.09
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                      30.00
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                       3.00
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                      30.00
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                      30.00
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                      30.00
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                      30.00
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                      30.00



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 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                  30.00
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                   3.10
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                  30.00
 03/13/2020   BB        18489.00002 Bloomberg Charges for 03-13-20                  30.00
 03/18/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS          0.37
 03/18/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS         69.74
 03/19/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS        282.87
 03/19/2020   CL        18489.00002 CourtLink charges for 03-19-20                  16.85
 03/23/2020   FE        18489.00002 FedEx Charges for 03-23-20                      18.21
 03/25/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS         62.22
 03/30/2020   PO        18489.00002 :Postage Charges for 03-30-20                    8.40
 03/30/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
 03/30/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
 03/30/2020   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                 2.20
 03/30/2020   RE2       SCAN/COPY (168 @0.10 PER PG)                                16.80
 03/30/2020   RE2       SCAN/COPY ( 285 @0.20 PER PG)                               28.50
 03/31/2020   CC        Conference Call [E105] Loop Up Conference Call, JIS          0.42
 03/31/2020   PAC       Pacer - Court Research                                       5.80
 03/31/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
 03/31/2020   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                 2.20
 03/31/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
 03/31/2020   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                 2.50
 03/31/2020   RS        Research [E106]Everlaw, Inv. 25550                         500.00

   Total Expenses for this Matter                                             $5,707.02




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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        03/31/2020

Total Fees                                                                                            $58,445.00

Total Expenses                                                                                             5,707.02

Total Due on Current Invoice                                                                          $64,152.02

  Outstanding Balance from prior invoices as of        03/31/2020          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 123646                  11/30/2019                $157,522.50            $3,790.46                   $31,504.50

 124553                  12/31/2019                 $56,445.00            $3,377.86                   $59,822.86

 124554                  01/31/2020                 $93,707.50            $1,482.24                   $95,189.74

 124560                  02/29/2020                 $72,490.00            $1,105.63                   $73,595.63

             Total Amount Due on Current and Prior Invoices:                                         $324,264.75




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    UNITED STATES BANKRUPTCY COURT
    WESTERN DISTRICT OF NEW YORK

                                                                 )
    IN RE:                                                       )    Chapter 11
                                                                 )
    THE DIOCESE OF ROCHESTER,                                    )    Case No. 19-20905 (CGM)
                                                                 )
                                    Debtor.                      )
                                                                 )

                                      CERTIFICATE OF SERVICE

             I, Sophia L. Lee, an Administrative Assistant at the law firm of Pachulski Stang Ziehl &

    Jones LLP, attorneys for The Official Committee of Unsecured Creditors for The Diocese of

    Rochester, Inc., being over the age of 18 and residing in Los Angeles, California, hereby certify

    under penalty of perjury that on the 5th day of June 2020, I electronically filed the FIFTH

    MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP FOR

    COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT

    OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS

    FOR THE DIOCESE OF ROCHESTER FOR THE PERIOD MARCH 1, 2020 THROUGH

    MARCH 31, 2020 with the Clerk of the Bankruptcy Court for the Western District of New York,

    using the CM/ECF system.

             I also certify that on June 5, 2020, via First Class Mail, using the United States Postal

    Service in the State of California, copies of the above-referenced document were mailed to:

Hon. Paul R. Warren                    Kathleen D. Schmitt, Esq.                  Stephen A. Donato
United States Bankruptcy               Office of the U.S. Trustee                 Bond, Schoeneck & King, PLLC
Court – Western District               Federal Office Building                    One Lincoln Center
100 State St.                          100 State Street, Room 6090                Syracuse, NY 13202-1355
Rochester, NY 14614                    Rochester, NY 14614



    Dated: June 5, 2020                                              /s/ Sophia L. Lee
                                                                     Sophia L. Lee


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